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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE
 -------------------------------------------------------------
 CRYSTALLEX INTERNATIONAL CORP.,                              )
                                                              )
                   Plaintiff,                                 )
                                                              )
          v.                                                  ) Misc. No. 17-151-LPS
                                                              )
 BOLIVARIAN REPUBLIC OF VENEZUELA, )
                                                              )
                   Defendant.                                 )
 -------------------------------------------------------------

        SPECIAL MASTER’S BRIEF IN OPPOSITION TO THE REPUBLIC AND
          PDVSA’S MOTION FOR A SHORT PAUSE IN THE SALE PROCESS


   OF COUNSEL:                                      Myron T. Steele (#00002)
                                                    Matthew F. Davis (#4696)
   Ray C. Schrock (Admitted pro hac vice)           Bindu A. Palapura (#5370)
   David Lender (Admitted pro hac vice)             POTTER ANDERSON & CORROON LLP
   Alexander W. Welch (Admitted pro hac vice)       Hercules Plaza, 6th Floor
   Chase A. Bentley (Admitted pro hac vice)         1313 North Market Street
   WEIL, GOTSHAL & MANGES LLP                       P.O. Box 951
   767 Fifth Avenue                                 Wilmington, DE 19801
   New York, New York 10153                         Telephone: (302) 984-6000
   Telephone: (212) 310-8000                        Facsimile: (302) 658-1192
   Facsimile: (212) 310-8007                        msteele@potteranderson.com
   Ray.Schrock@weil.com                             mdavis@potteranderson.com
   David.Lender@weil.com                            bpalapura@potteranderson.com
   Alexander.Welch@weil.com
   Chase.Bentley@weil.com                           Counsel for Special Master Robert B. Pincus

   Dated: September 24, 2024
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        Robert B. Pincus, in his capacity as special master of the United States District Court for

 the District of Delaware (the “Special Master”) in the above-captioned case, respectfully submits

 this brief in opposition to the Republic and PDVSA’s Motion for a Short Pause in the Sale Process

 (the “Motion”).1 See D.I. 1272.

                                 PRELIMINARY STATEMENT

        The Special Master has been working diligently towards fulfilling his mandate to conduct

 a value-maximizing sale of the PDVH Shares. Under the current schedule, the Special Master’s

 deadline to file a Notice of Final Recommendation and Notice of Successful Bid is September 26,

 2024, and the Sale Hearing is set for November 19, 2024. See D.I. 1283. There is no good reason

 to suspend the sale process just as it is nearing its culmination, and doing so would risk losing all

 progress made to date.

        This Court should accordingly deny the Republic and PDVSA’s Motion, which appears to

 be just another effort “to delay, hinder, and prevent their creditors from receiving payment on their

 judgments at every possible turn.” Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, No.

 MC 17-151-LPS, 2024 WL 2804668, at *3–4 (D. Del. May 31, 2024) (“Crystallex I”) (quoting

 D.I. 1150 at 1-2). The Motion is predicated on a series of uncertain contingencies that will not

 occur within the next four months—if they ever occur at all. Specifically, the Republic and

 PDVSA rely on “the possibility that a new Venezuelan government” will come to power in January

 2025 and will thereafter “propose a global resolution of Venezuela’s debts” that might “present a

 window of opportunity” for an alternative resolution of Venezuela’s debts. D.I. 1273 at 2-3



 1
  All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
 such terms in the Sale Procedures Order, D.I. 481 (the “Sale Procedures Order”), the July 27
 Order, D.I. 646, or the Special Master’s Opening Brief in Support of his Motion to Enjoin the Alter
 Ego Claimants from Enforcing Claims Against the Republic or PDVSA by Collecting from PDVH
 or Its Subsidiaries in Other Forums (the “Alter Ego Motion”), D.I. 1249.
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 (emphasis added). Awaiting this mere possibility of a proposal does not justify abandoning the

 substantial progress the Special Master has made towards a sale recommendation and would come

 at great cost and risk to the holders of Attached Judgments. Moreover, if all the contingencies that

 need to occur in fact do occur, nothing prevents the Venezuelan government from then choosing

 to pay any creditors it wants whose claims are not resolved by the Court’s sale of the PDVH Shares.

 A possible change in government and a possible alternative outcome doesn’t justify delaying the

 sale at the 11th hour.

        The Republic and PDVSA also argue that a pause would “allow for greater clarity (and

 perhaps resolution) of” the Alter Ego Actions and the 2020 bondholder litigation. D.I. 1273 at 9.

 But the Special Master is already diligently working to resolve these issues in connection with the

 current schedule—indeed, the Court has scheduled a hearing for October 1, 2024, to address the

 Alter Ego Motion. The Special Master is not blind to the issues presented by these suits and is

 diligently working to resolve them in a manner that will secure a value-maximizing sale of the

 PDVH Shares for the benefit of the holders of Attached Judgments on the timeline the Court has

 ordered. A pause would only undermine those efforts and the Court should yet again be

 “suspicio[us] … as to the Venezuela Parties’ motivations for filing such a meritless motion at such

 a precarious time.” Crystallex I, 2024 WL 2804668, at *4.

                                   FACTUAL BACKGROUND

        The Special Master is tasked with designing and running a process to sell the PDVH Shares

 to satisfy the holders of Attached Judgments against the Republic and PDVSA. See D.I. 258 at 2;

 Sale Procedures Order ¶ 54 (authorizing the Special Master “to take all reasonable steps necessary

 or appropriate to carry out” the Sale Procedures Order). Under the supervision of this Court, the

 Special Master has worked with holders of Attached Judgments, the Venezuela Parties, and other




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 interested entities for years to design and effectuate a sale process and priority scheme to

 compensate judgment creditors for debts owed by PDVSA and the Republic. See Sale Procedures

 Order. In doing so, the Court has established detailed sale procedures, see id. at Ex. A, and put in

 place a series of steps judgment creditors must complete to participate in the sale process. See,

 e.g., D.I. 646 at 3-8; D.I. 738. These steps culminated in a final priority order of creditors. See

 D.I. 1102.

           In tandem, the Special Master has engaged in robust discussions with potential bidders and

 with CITGO management for months. The Bidding Procedures, as modified by the Special Master

 upon notice from time-to-time, set out detailed instructions and deadlines that parties have relied

 upon throughout the process. See Sale Procedures Order. Parties displeased with any aspect of

 the sale process, including the Republic and PDVSA,2 have had every opportunity to object in this

 Court.3



 2
  See, e.g., D.I. 457 (Venezuela Parties’ Apr. 11, 2022 Objections to Fourth Revised Proposed Sale
 Procedures Order); D.I. 561 (Venezuela Parties’ May 23, 2023 Objections to Special Master’s
 Supplemental Report); D.I. 1144 (Venezuela Parties’ May 8, 2024 Objections to Special Master’s
 Modification of Bidding Procedures).
 3
   See, e.g., Sale Procedures Order ¶ E (establishing procedures for a Sale Process Party to raise
 objection if the Sale Process Party believed that further service of a Sale Notice or any additional
 publication or notice was necessary or appropriate); id. ¶ 3 (“The Sales Process Parties shall have
 the opportunity to object to the Special Master’s recommendations in the Supplemental Report
 regarding the Preparation Launch Date and the Launch Date . . . .”); id. ¶ 16 (setting deadline to
 object to any Sale Transaction, and providing that a Sale Objection not otherwise resolved “shall
 be heard by the Court at the Sale Hearing”); id. ¶ 19 (“For the avoidance of doubt, the Sale Process
 Parties shall have the opportunity to object to the Special Master’s recommendation as to which
 bid is best and whether the Court should accept or reject such bid. Upon hearing all Sale
 Objections, the Court will make the final decision as to whether to accept or reject any bid. Nothing
 in this Order shall affect the rights of any party to appeal such a decision by the Court.”); id. ¶ 34
 (establishing procedures for “any person object[ing] to a request by the Special Master that
 specifically invokes . . . paragraph 34”); D.I. 480-1, Ex. 1 at 18-19 (establishing procedures for
 objecting to Sale Transaction as part of Bidding Procedures); D.I. 234 at 36 (“The Venezuela
 Parties will have a fair and reasonable opportunity to be involved in the prefatory procedures, the
 sale, and any negotiations . . . .”) (emphasis omitted).


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        Now, as the Special Master closes in on securing a buyer and preparing a sale

 recommendation, the Republic and PDVSA ask this Court to stop the process in its tracks for what

 they characterize as a four-month pause, but in reality is an indefinite hiatus and an untenable

 request to pursue some path other than the sale of the PDVH Shares.

                                            ARGUMENT

        The Special Master does not dispute that this Court has discretion to modify the timeline

 of the sale process. See D.I. 1273 at 6. However, when the Court “consider[s] the relative

 prejudice to the parties who are before [the Court] that might arise from granting or denying the

 requested relief” it is clear that the Republic and PDVSA’s requested relief is not warranted. See

 Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, No. MC 17-151-LPS, 2024 WL

 325133, at *3 (D. Del. Jan. 29, 2024).

        The judgment creditors who diligently met every deadline and jumped every hurdle

 required by this Court, and the sale process itself, will be prejudiced by the pause because it risks

 allowing an approaching deal to fall through and sending the parties back to step one. The

 Republic and PDVSA’s reliance on Landis v. North American Co., 299 U.S. 248 (1936) is

 therefore misguided. See D.I. 1273 at 6. The court in Landis explained that a “suppliant for a stay

 must make out a clear case of hardship or inequity in being required to go forward, if there is even

 a fair possibility that the stay for which he prays will work damage to someone else.” 299 U.S. at

 255. The Republic and PDVSA fail to make such a case.

 I.     The Court Should Not Grant a Pause of the Sale Process Based on the Possibility that
        a New Venezuelan Government Assumes Power by January 2025.

        A.      The Event Underlying the Republic and PDVSA’s Request for a Pause
                Remains Highly Uncertain to Occur.

        While the Motion is framed as a request for short-term relief, it is in fact a disguised attempt

 to stay this action for months or even years to await a series of contingencies that are uncertain to


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 ever occur. The Republic and PDVSA’s Motion is based on “the possibility that a new Venezuelan

 government” will come to power in January 2025 and “propose a global resolution of Venezuela’s

 debts.” See D.I. 1273 at 3 (emphasis added). So, while the Motion asks for a stay only until

 January, the movants concede that no resolution will be achieved at that point, only the possibility

 of a proposal.

        Indeed, the Republic and PDVSA concede that the basis for their request is highly

 contingent at every single step. First, they admit in their Motion for Pause that “it is too early to

 tell if Mr. Maduro will cede power to the democratically-elected Mr. Gonzalez.” See id. at 6.

        Second, even if the transition of power occurs, there is no guarantee that it will lead to a

 global resolution of the claims of the judgment creditors. The Republic and PDVSA offer no

 evidence in connection with their motion to show that any such proposal currently exists or will

 exist by January 2025, much less that such a proposal would be accepted and approved. On the

 contrary, the Republic and PDVSA assert that January 2025 would be the beginning of a

 completely new process where Attached Judgment holders who complied with this Court’s process

 will be forced to join Venezuela’s negotiations to reach a global resolution with all of its creditors

 starting from scratch. See id. at 7. There is no guarantee such a resolution will ever be achieved,

 and the Republic and PDVSA do not even argue that resolution will occur during the pause they

 seek. Their effective request for “a stay of indefinite duration” can be easily “disposed of.” Landis,

 299 U.S. at 255. And of course, an indefinite delay risks losing the current bidder with whom the

 Special Master is negotiating definitive documentation, and any other interested bidding parties,

 which is more likely the goal here given the Republic and PDVSA’s prior efforts to delay, hinder

 and prevent creditors from receiving payment on their judgments at every turn.




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        The Republic and PDVSA look to Hamilton Rsrv. Bank Ltd. v. Democratic Socialist

 Republic of Sri Lanka, No. 22-CV-5199 (DLC), 2023 WL 7180683, at *1 (S.D.N.Y. Nov. 1, 2023)

 as an example of a court granting a sovereign a stay so that it could engage in debt-restructuring

 negotiations during a time of political crisis. See D.I. 1273 at 8. But in Hamilton, the plaintiff

 brought a breach of contract claim against the Democratic Republic Socialist Republic of Sri

 Lanka (“Sri Lanka”) for defaulting on bonds while Sri Lanka was “actively working with [the

 International Monetary Fund] to resolve its financial crisis.” See 2023 WL 7180683, at *2-3. In

 contrast, this litigation “has now stretched to nearly seven years,” and the Republic has not once

 sought international assistance to restructure its debt. See Crystallex I, 2024 WL 2804668, at *6–

 7. Moreover, in Hamilton, the United States explained in its Statement of Interest, “U.S policy is

 ‘to afford sovereigns who are negotiating in good faith . . . a limited opportunity to achieve a

 consensual resolution before judgments are entered or enforced against their debts.’” See 2023

 WL 7180683, at *5 (citation omitted).         Here, the Republic and PDVSA have shown no

 commitment to living up to obligations to pay their debts.

        The Republic and PDVSA’s reliance on international comity, as set forth in Pravin Banker

 Assocs., Ltd. v. Banco Popular Del Peru, 109 F.3d 850, 854 (2d Cir. 1997), is equally unavailing.

 See D.I. 1273 at 8. In affirming the district court’s decision to deny the Republic of Peru’s motion

 for a stay, the Second Circuit explained that “[a]lthough courts in this country have long recognized

 the principles of international comity . . . comity remains a rule of ‘practice, convenience, and

 expediency’ rather than of law.” Pravin, 109 F.3d at 854 (citation omitted). “[E]xtending comity

 to [a sovereign’s] debt negotiations is only appropriate if it is consistent with United States

 government policy.” Id. at 855. And it is United States policy to take a “strong interest in ensuring




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  the enforceability of valid debts under the principles of contract law, and in particular, the

  continuing enforceability of foreign debts owed to United States lenders.” Id.

         B.      The Republic and PDVSA’s Request for a Pause in the Sale Order is Merely
                 Another Delay Tactic.

         This Court has previously been suspicious of the Republic and PDVSA’s attempts to

  “delay, hinder, and prevent their creditors from receiving payment on their judgments at every

  possible turn.” Crystallex I, 2024 WL 2804668, at *3–4 (admonishing the Venezuela Parties for

  filing a “meritless motion [to disqualify the Special Master] at such a precarious time” and

  “shar[ing] the suspicions expressed by the Special Master and several creditors . . . ‘that the

  Venezuela Parties have attempted and will attempt to delay, hinder, and prevent their creditors

  from receiving payment on their judgments at every possible turn.’”) (quoting D.I. 1150 at 1-2);

  see also Crystallex Int'l Corp. v. Bolivarian Republic of Venezuela, No. MC 17-151-LPS, 2023

  WL 2891452, at *4 (D. Del. Apr. 11, 2023) (denying the Venezuela Parties’ motion to disqualify

  the Special Master because the motion was untimely and “conclud[ing] that the delay was

  strategic” and “designed with at least a partial goal of further delaying these proceedings”).

         “The litigation before the Court simply cannot be permitted to continue forever.”

  Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, No. MC 17-151-LPS, 2022 WL

  611586, at *19 (D. Del. Mar. 2, 2022), certification granted, judgment modified, No. MC 17-151-

  LPS, 2022 WL 1404702 (D. Del. May 4, 2022). “There comes a time in the history of a litigation

  like this when . . . there must be a sale.” Pewabic Min. Co. v. Mason, 145 U.S. 349, 357–58 (1892).

  “This litigation has now stretched to nearly seven years . . . [and t]he Venezuela Parties have had

  innumerable opportunities to litigate every conceivable challenge to this Court's approach – and

  they have often done so.” Crystallex I, 2024 WL 2804668, at *6.




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         The Republic and PDVSA have “filed [their latest motion] at a moment of particular

  sensitivity in the sale process.” See id. at *3. The Special Master is in the final stages of

  negotiating a sale of the PDVH Shares. The Republic and PDVSA’s motion, predicated on a series

  of events uncertain to occur, seeks to disrupt the sale process. Therefore, denying the Motion is

  in line with this Court’s obligation “to take all reasonable and lawful steps to avoid an outcome in

  which Venezuela succeeds in not living up to its obligations to pay its debts.” Id., at *7.

  II.    Neither the Alter Ego Actions or the 2020 Bondholders Litigation Justifies
         Postponing the Sale Process.

         The Republic and PDVSA’s claim that “a pause would allow for greater clarity (and

  perhaps resolution)” of the Alter Ego Actions and 2020 Bondholders litigation is beside the point,

  as the Special Master is working to diligently address these issues within the Court’s existing

  timeline for the sale process. See D.I. 1273 at 9.

         A.      Alter Ego Actions

         The Alter Ego Claimants seek to hold PDVH liable for judgments against PDVSA in a

  blatant attempt to circumvent this Court’s sale process and jump the line set by this Court’s priority

  scheme. As things currently stand in these actions, the default judgments that were the bases of

  Girard Street’s and G&A Strategic’s Alter Ego Actions have been vacated as of September 10,

  2024. See G&A Strategic Invs. I-VII LLC v. Petróleos de Venezuela, S.A., No. 1:23-cv-10766-JSR

  (S.D.N.Y. Sept. 10, 2024), D.I. 67; Girard St. Inv. Holdings, LLC v. Petróleos de Venezuela, S.A.,

  No. 1:23-cv-10772-JSR (S.D.N.Y. Sept. 10, 2024), D.I. 59. And PDVH has moved to dismiss

  Gramercy’s alter ego claims. See Gramercy Distressed Opportunity Fund, LLC v. PDV Holding,

  Inc., No. 4:24-cv-02981 (S.D. Tex. Aug. 30, 2024), D.I. 15. If they are permitted to proceed, these

  actions will not be resolved, or be close to resolved, on the merits by January 2025.




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         In order to address these actions within the confines of the Court’s sale process, the Special

  Master has filed the Alter Ego Motion to enjoin the Alter Ego Claimants from seeking to enforce

  judgments against PDVSA or the Republic by recovering from PDVH, its subsidiaries, or their

  assets in the Alter Ego Actions. See D.I. 1249. The Court has scheduled a hearing on this motion

  for October 1, 2024. A four-month pause can only harm the sale process and the Special Master’s

  ability to close a value-maximizing sale transaction.

         B.      2020 Bondholders

         A separate action concerning holders of debt instruments issued by PDVSA (the “2020

  Bondholders”) remains pending before the United States District Court for the Southern District

  of New York. Petroleos de Venezuela S.A. v. MUFG Union Bank, N.A., No. 1:19-cv-10023-KPF

  (S.D.N.Y.). The Second Circuit recently vacated the Southern District of New York’s entry of

  judgment against PDVSA and related entities, holding that Venezuelan law governs the validity

  of the instruments at issue, and remanded the case to the district court. Petroleos De Venezuela

  S.A. v. MUFG Union Bank, N.A., 106 F.4th 263, 265 (2d Cir. 2024).

         This Court should reject the Republic and PDVSA’s suggestion that all parties just wait

  and see—again, for what is practically an uncertain and indefinite amount of time—what happens

  in the 2020 Bondholders litigation. See D.I. 1273 at 11-12. Like the merits of the Alter Ego

  Actions, the 2020 Bondholders litigation will not be resolved, or be close to resolved, by January

  2025, meaning that there is no benefit to a four-month stay. Instead, the Special Master is likewise

  working diligently to address the impact of the 2020 Bondholders litigation on this sale process

  within the contours and timeline authorized by the Court.

         Indeed, this Court has already ruled that the existence of the 2020 Bondholders litigation

  is not a reason to halt the sale process. See Sale Procedures Order ¶ 39 (authorizing and




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  empowering the Special Master, “in his sole discretion and at any time, to communicate and, as

  applicable, negotiate with . . . any holders of that certain series of bonds issued by PDVSA due in

  2020”); D.I. 643 at 8-10 (overruling the Venezuela Parties’ objection “seek[ing] to delay the launch

  of the sale process” due to the existence of the 2020 Bondholders litigation, asserting that “the

  Court will not await [the 2020 Bondholders litigation] outcome before moving forward”).

         In sum, a four-month pause based on the 2020 Bondholders litigation will not be helpful

  to the sale process in any way. See Petróleos de Venezuela S.A., No. 1:19-cv-10023-KPF, D.I.

  320 (ordering in the 2020 Bondholders litigation that opening supplemental submissions are to be

  filed by January 17, 2025 and responses to the supplemental submissions are to be filed by March

  18, 2025).

                                            CONCLUSION

         After years of hard work and negotiations, the sales process is nearing its denouement.

  Instead of supporting that process and getting at least some creditors paid, the Republic and

  PDVSA, as they have done throughout, now seek to undermine that process by seeking further

  delay, based on hypothetical political events, which may lead to uncertain, alternative outcomes.

  And if the result of the added delay is the loss of any interested bidder for the assets, the Republic

  and PDVSA get what they have wanted all along – preventing creditors from receiving payments

  on their judgments at every possible turn. Their latest effort at the final hour to pause the process

  should be rejected. Accordingly, the Special Master requests that this Court deny the Republic

  and PDVSA’s prayer for a pause in the sale process.




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                                                Respectfully submitted,
                                                POTTER ANDERSON & CORROON LLP
  OF COUNSEL:
                                                /s/ Myron T. Steele
  Ray C. Schrock (Admitted pro hac vice)        Myron T. Steele (#00002)
  David Lender (Admitted pro hac vice)          Matthew F. Davis (#4696)
  Alexander W. Welch (Admitted pro hac vice)    Bindu A. Palapura (#5370)
  Chase A. Bentley (Admitted pro hac vice)      Hercules Plaza, 6th Floor
  WEIL, GOTSHAL & MANGES LLP                    1313 North Market Street
  767 Fifth Avenue                              P.O. Box 951
  New York, New York 10153                      Wilmington, DE 19801
  Telephone: (212) 310-8000                     Telephone: (302) 984-6000
  Facsimile: (212) 310-8007                     Facsimile: (302) 658-1192
  Ray.Schrock@weil.com                          msteele@potteranderson.com
  David.Lender@weil.com                         mdavis@potteranderson.com
  Alexander.Welch@weil.com                      bpalapura@potteranderson.com
  Chase.Bentley@weil.com
                                                Counsel for Special Master Robert B. Pincus
  Dated: September 24, 2024
  11753243




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